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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION

 UNITED STATES OF AMERICA,                                §
                   Plaintiff,                             §
                                                          §
 v.                                                       §   CASE NO. 7:20-CV-302
                                                          §
 14.421 ACRES OF LAND, MORE OR LESS,                      §
 SITUATE IN STARR COUNTY, STATE OF                        §
 TEXAS; AND ALFONSO E. MARGO, ET AL                       §
                   Defendants.                            §


                        STIPULATION FOR REVESTMENT AND
                       MOTION FOR ENTRY OF FINAL JUDGMENT

       Plaintiff United States of America and Defendants Alfonso E. Margo, Richard L. Margo,

Frederick James Margo, and Virginia Gail Jones do hereby stipulate to the revestment of interests

taken in Tract RGV-RGC-8024 as described in Schedules “C, “D”, and “E” of the Declaration of

Taking (Dkt. No. 2).

       The parties further stipulate and agree as follows:

A.     Background

       1.     On October 5, 2020, Plaintiff United States of America (“United States”) filed a

Declaration of Taking (Dkt. No. 2) and Complaint in Condemnation (Dkt. No. 1) to acquire 14.421

acres in fee identified as Tract RGV-RGC-8024. On November 5, 2020, the United States

deposited its estimated just compensation for Tract RGV-RGC-8024. See Dkt. No. 8. Pursuant to

40 U.S.C. § 3114(b)(1), upon deposit of the estimated just compensation, title to Tract RGV-RGC-

8024 vested in the name of the United States by operation of law on November 5, 2020.

       2.     The United States does not have possession of Tract RGV-RGC-8024; no

possession order has ever been issued.




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       6.      The Parties agree that Defendants Alfonso E. Margo, Richard L. Margo, Frederick

James Margo, and Virginia Gail Jones are the sole owners of the interests acquired in Tract RGV-

RGC-8024.

B.     Stipulation of Revestment

       7.      Pursuant to 40 U.S.C. § 3117, the United States may agree or stipulate to the

revestment of condemned property to resolve condemnation cases.

       8.      The United States and Defendants Alfonso E. Margo, Richard L. Margo, Frederick

James Margo, and Virginia Gail Jones jointly stipulate and agree that all right, title, and interests

acquired by the United States associated with or appurtenant to Tract RGV-RGC-8024 are hereby

REVESTED back to Defendants with all title and rights as existed immediately before the filing

of the Declaration of Taking and title vesting in the United States.

       9.      Defendants hereby agree to accept such REVESTMENT of Tract RGV-RGC-8024.

       10.     The legal descriptions and surveys of Tract RGV-RGC-8024 that is being

REVESTED to Defendants are found in Schedule “C” and “D” of the Declaration of Taking (Dkt.

No. 2) and are attached hereto as Exhibit 1 and 2.

C.     Stipulation Regarding Just Compensation and Motion for Final Judgment

       11.     The Parties further make a stipulation and move for final judgment and termination

of this case as follows:

               A.      Upon the Court’s Order entering final judgment in accordance with the
       instant stipulation of revestment, the Parties seek immediate distribution of:

                •   The sum of $39,139.00, with accrued interest, payable to the order of “F&A
                    Officer, USAED, Fort Worth,” with the check referencing “Tract No. RGV-
                    RGC-8024.”

               B.      Defendants warrant they were the owners of the interest in the property
       taken in this proceeding on the respective date of taking.




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              C.      The Parties shall be responsible for their own legal fees, costs, and expenses,
       including attorneys’ fees, consultants’ fees, and any other expenses or costs.

              D.     The Parties shall take no appeal from any rulings or judgment made by the
       Court in this action, and the parties’ consent to the entry of all motions, orders, and
       judgments necessary to effectuate this stipulation.

              E.      This joint stipulation and motion is binding on the heirs, trustees, executors,
       administrators, devisees, successors, assigns, agents, and representatives of Defendants.

               F.      The Parties request that the Court enter an Order of Final Judgment
       reflecting this Stipulation, and closing this case.


                                                      Respectfully submitted,

DEFENDANTS:                                           FOR PLAINTIFF:

By:      _s/ Roger Reed (with permission)             JENNIFER B. LOWERY
         ROGER REED                                   Acting United States Attorney
         Law O ffice of Roger Reed                    Southern District of Texas
         S.D. Tex. Bar No.: 6407
         State Bar of Texas No.: 16687200
         3900 N. 10th St., Ste. 850              By: s/ Megan Eyes
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         Defendants: Alfonso E. Margo,               1701 W. Bus. Highway 83, Suite 600
         Frederick J. Margo, Richard L. Ma           McAllen, TX 78501
         rgo, and Virgini
                        a Gail (Margo) Jones         Telephone: (956) 618-8010
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                                                     E-mail: Megan.Eyes@usdoj.gov
         ________________________                    Attorney in Charge for Plaintiff
         Kenneth Wilkins
         Tenant in Possession

         ________________________
         Ameida Salinas
         Starr County Tax Assessor-
         Collector




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                                 CERTIFICATE OF SERVICE

       I, Megan Eyes, Assistant United States Attorney for the Southern District of Texas, hereby

certify that a copy of the foregoing was filed with the Clerk of the Court using the CM/ECF System

and provided to all parties via electronic mail.

                                                      s/ Megan Eyes
                                                      Megan Eyes
                                                      Assistant United States Attorney




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